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               IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF FLORIDA
                           GAINESVILLE DIVISION


UNITED STATES OF AMERICA,
v.                                                 CASE NO. 1:05-cr-00039-SPM-AK

ASHLIE EBONY MOTHERSILL,

     Defendant.
___________________________/

                                     ORDER

      This matter is before the Court on Defendant’s Motion to Vacate Motion to

Withdraw as Attorney. (Doc. 79). Having considered said motion, the Court is of the

opinion that it should be GRANTED, and that the motion to withdraw (doc. 78) is hereby

DEEMED WITHDRAWN.


      DONE AND ORDERED this 14th day of November, 2005


                          s/ A. KORNBLUM
                          ALLAN KORNBLUM
                          UNITED STATES MAGISTRATE JUDGE
